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UNREDACTED VERSION OF
      OPPOSITION
     SOUGHT TO BE
   FILED UNDER SEAL
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11

12                               UNITED STATES DISTRICT COURT

13                              NORTHERN DISTRICT OF CALIFORNIA

14                                     SAN FRANCISCO DIVISION

15   Waymo LLC,                                     Case No. 3:17-cv-00939
16                 Plaintiff,                       DEFENDANT OTTO TRUCKING’S
                                                    OPPOSITION TO PLAINTIFF WAYMO
17          v.                                      LLC’S MOTION FOR ORDER TO SHOW
                                                    CAUSE
18   Uber Technologies, Inc.; Ottomotto LLC; Otto
     Trucking LLC,                                  [FILED UNDER SEAL]
19
                   Defendants.                      Date:         July 27, 2017
20                                                  Time:         8:00 a.m.
                                                    Courtroom:    8, 19th Floor
21                                                  Judge:        Honorable William H. Alsup
                                                    Trial Date:   October 10, 2017
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                                         OTTO TRUCKING’S OPPOSITION TO WAYMO’S MOTION FOR OSC
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 1   I.      INTRODUCTION
 2           Defendant Otto Trucking LLC (“Otto Trucking”) respectfully submits this opposition to
 3   Plaintiff Waymo LLC’s (“Waymo”) motion for an order to show cause. See Dkt. No. 677. As to
 4   Otto Trucking, the motion should be denied in its entirety because none of Waymo’s identified bases
 5   justifies a finding of contempt of the Court’s Expedited Discovery Order (Dkt. No. 61) or the
 6   Preliminary Injunction Order (Dkt. Nos. 426, 433). Waymo has not demonstrated that a contempt
 7   finding is appropriate for at least the following reasons:
 8           Paying Mr. Levandowski money to repurchase his shares in Otto Trucking is not a
 9   reasonable step nor is it required by the Preliminary Injunction Order. Requiring Otto Trucking to
10   repurchase Mr. Levandowski’s shares pursuant to a call right is not a reasonable step within Otto
11   Trucking’s power to comply; any such action would require Mr. Levandowski’s own consent,
12   forcing him to choose between state-ordered punitive action and his right against self-incrimination
13   in violation of the Fifth Amendment. Moreover, Waymo does not explain how repurchasing Mr.
14   Levandowski’s shares would even cause him to return any “downloaded materials.” Finally, while
15   the Order generally requires Otto Trucking to exercise “the full extent” of its authority to force Mr.
16   Levandowski to return “downloaded materials,” Waymo never raised the idea of repurchasing Mr.
17   Levandowski’s shares during preliminary injunction briefing and, thus, the Court had no reason to
18   specifically address such action in its Preliminary Injunction Order. Otto Trucking cannot be in
19   contempt for not taking actions that are not called for by the clear language of the Court’s Order and
20   that are based solely on Waymo’s creative reading of the Otto Trucking LLC Agreement.
21           Otto Trucking was not required to disclose Mr. Levandowski’s destruction of five discs.
22   Waymo complains that Otto Trucking did not timely disclose Mr. Levandowski’s destruction of five
23   discs. But the five discs have never been in Otto Trucking’s possession, custody, or control, and
24   Otto Trucking therefore was not obligated under the Expedited Discovery Order to disclose their
25   destruction. Moreover, Waymo has not shown that the five discs contained “downloaded materials”
26   or even that Otto Trucking in fact knew that the discs were destroyed. In any event, Waymo is now
27   aware of this information, so a contempt finding would serve no purpose in securing Otto Trucking’s
28   further compliance with the Order.
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 1            Otto Trucking cannot compel Stroz or MoFo to take any actions. Neither Stroz Friedberg
 2   LLC (“Stroz”) nor Morrison & Foerster LLP (“MoFo”) are Otto Trucking’s agents. Waymo
 3   successfully argued that Otto Trucking did not have standing to challenge a subpoena to Stroz
 4   because it did not retain Stroz. MoFo only became counsel to Otto Trucking after the lawsuit was
 5   filed and was no longer counsel to Otto Trucking at the time of the injunction. Otto Trucking thus
 6   cannot, as Waymo suggests, force them to return any “downloaded materials.”
 7   II.      LEGAL STANDARD
 8            “A district court has the power to adjudge in civil contempt any person who willfully
 9   disobeys a specific and definite order of the court.” Gifford v. Heckler, 741 F.2d 263, 265 (9th Cir.
10   1984). Civil contempt requires disobedience of “a specific and definite court order by failure to
11   take all reasonable steps within the party’s power to comply.” Reno Air Racing Ass’n, Inc. v.
12   McCord, 452 F.3d 1126, 1130 (9th Cir. 2006) (emphasis added). “Substantial compliance with the
13   court order is a defense to civil contempt, and is not vitiated by a few technical violations where
14   every reasonable effort has been made to comply.” In re Dual-Deck Video Cassette Recorder
15   Antitrust Litig., 10 F.3d 693, 695 (9th Cir. 1993) (quotations omitted). A prima facie case of civil
16   contempt requires: “(1) the nonmoving party violated a specific and definite court order; (2) beyond
17   substantial compliance; (3) not based upon a reasonable and good faith interpretation of the order;
18   and (4) the foregoing has been shown by clear and convincing evidence.” Perez v. RMRF
19   Enterprises, Inc., No. C 13-80059 SI, 2014 WL 3869935, at *3 (N.D. Cal. Aug. 6, 2014). “If the
20   moving party establishes a prima facie case of contempt, the nonmoving party must show that [it]
21   took every reasonable step to comply with the Court’s order.” Id.
22   III.     ARGUMENT
23            A.     Otto Trucking Is Not in Contempt for Not Paying Mr. Levandowski Money to
                     Repurchase His Shares in Otto Trucking.
24

25            Otto Trucking is not in contempt for refusing to repurchase Mr. Levandowski’s shares in the
26   company pursuant to a call right. Waymo’s argument on this front fails for several reasons.
27            First, requiring Otto Trucking to repurchase Mr. Levandowski’s shares is not “a reasonable
28   step within [Otto Trucking’s] power to comply.” Reno Air, 452 F.3d at 1130; see also Dual-Deck
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                                            OTTO TRUCKING’S OPPOSITION TO WAYMO’S MOTION FOR OSC
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 1   Video, 10 F.3d at 695. Under Otto Trucking’s LLC Agreement, the right to repurchase shares, or the
 2   call right, may be exercised “at the sole discretion of the Managing Members.” Declaration of Neel
 3   Chatterjee, Ex. 2 (First Amendment to LLC Agreement) ¶ 1.02. Any actions taken by the company,
 4   including exercising the call right, can only be taken “if written consents setting forth the action so
 5   taken are signed by a majority of the Managing Members.” Id., Ex. 1 (Otto Trucking LLC
 6   Agreement) ¶ 10(a)(ii). In other words, the Managing Members, Mr. Levandowski and Mr. Ron,
 7   control Otto Trucking; indeed, nothing in the LLC Agreement empowers the LLC to take coercive
 8   action against a member, as the LLC exists for the members and not the other way around. Thus, for
 9   the Court to require Otto Trucking to repurchase Mr. Levandowski’s shares, Mr. Levandowski
10   himself would have to consent. This, however, results in the Court forcing Mr. Levandowski to
11   either take punitive action against himself or waive his Fifth Amendment rights. Such coercive state
12   action is prohibited by the Fifth Amendment. See, e.g., Lefkowitz v. Cunningham, 431 U.S. 801, 806
13   (1977) (noting that “government cannot penalize assertion of the constitutional privilege against
14   compelled self-incrimination by imposing sanctions to compel testimony which has not been
15   immunized”); Malloy v. Hogan, 378 U.S. 1, 8 (1964) (stating that the Fifth Amendment guarantees
16   “the right of a person to remain silent unless he chooses to speak in the unfettered exercise of his
17   own will, and to suffer no penalty . . . for such silence”). Waymo’s demand is thus unreasonable and
18   cannot be the basis for a finding of contempt.
19          Second, Waymo’s apparent belief that paying Mr. Levandowki money for his Otto Trucking
20   shares would cause Mr. Levandowski to return allegedly downloaded materials is just unfounded
21   speculation. Waymo does not explain how taking such action will cause Mr. Levandowski to return
22   any allegedly downloaded materials.
23          Third, although the Court ordered Defendants to “exercise the full extent of their corporate,
24   employment, contractual, and other authority” to cause Mr. Levandowski to return downloaded
25   materials, see Dkt. No. 433 at 23, the Order does not specifically and definitively direct Otto
26   Trucking to repurchase Mr. Levandowski’s Otto Trucking shares. See Balla v. Idaho State Bd. of
27   Corr., 869 F.2d 461, 465 (9th Cir. 1989) (“Civil contempt is appropriate only when a party fails to
28   comply with a court order that is both specific and definite. Thus, to support a contempt motion, the
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                                            OTTO TRUCKING’S OPPOSITION TO WAYMO’S MOTION FOR OSC
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 1   order alleged to have been disobeyed must be sufficiently specific.”) (internal citations omitted)
 2   (emphasis added). Given that Waymo never raised such a proposed action during briefing on the
 3   preliminary injunction and raises it now to the Court for the first time, the Court had no reason to
 4   consider such action as part of its Preliminary Injunction Order. Thus, it is not surprising that the
 5   Preliminary Injunction Order has no specific and definite language requiring Otto Trucking to
 6   repurchase Mr. Levandowski’s shares. Such a requirement is quite different than a contractual
 7   obligation telling Mr. Levandowski he should not retain materials from his prior employer as a
 8   condition of employment.
 9          Fourth, even Waymo’s counsel’s own request is unclear. It is not clear whether Waymo’s
10   counsel is suggesting that Otto Trucking should just “threaten to repurchase Mr. Levandowski’s
11   shares of Otto Trucking,” Mot. at 14, or whether Waymo’s counsel is suggesting that Otto Trucking
12   should actually exercise the call right and pay Mr. Levandowski money to purchase his shares. Id. at
13   15. But, regardless of whatever Waymo’s counsel is actually suggesting, Otto Trucking cannot be in
14   contempt of the Court’s Preliminary Injunction Order because the Order does not specifically and
15   definitively require either of Waymo’s counsel’s suggestions.
16          B.      Otto Trucking Is Not in Contempt for Failing to Timely Disclose the Destruction
                    of “Downloaded Materials.”
17

18          Otto Trucking is also not in contempt of the Expedited Discovery Order for failing to timely
19   disclose Mr. Levandowski’s destruction of “downloaded materials.” Several reasons warrant
20   dismissing Waymo’s complaints regarding Mr. Levandowski’s destruction of five discs.
21          First, the Expedited Discovery Order required “defendants [to] produce for inspection all
22   files and documents downloaded by Anthony Levandowski, Sameer Kshirsagar, or Radu Raduta
23   before leaving plaintiff’s payroll and thereafter taken by them[,]” and, “[i]f any part of said
24   downloaded material has been deleted, destroyed, or modified, then defendants shall state the extent
25   thereof and produce all documents bearing on said deletion, destruction, or modification.” Dkt. No.
26   61 at 2. The Order, including the disclosure requirement, covered only “downloaded materials” that
27   were within Otto Trucking’s possession, custody, or control—otherwise, Otto Trucking would be
28   powerless to “produce for inspection” any such materials. As Otto Trucking did not and does not
                                                         4
                                            OTTO TRUCKING’S OPPOSITION TO WAYMO’S MOTION FOR OSC
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 1   have in its possession, custody, or control the five discs—or any other “downloaded materials” for
 2   that matter—it was not obligated under the Order to disclose the destruction of those discs.1
 3          Second, even assuming Otto Trucking had an obligation to disclose the destruction of
 4   “downloaded materials” not within its possession, custody, or control, Waymo has not demonstrated
 5   that Otto Trucking failed to comply. As a first matter, it is not clear, even now, whether the five
 6   discs Mr. Levandowski destroyed contained “downloaded materials.” Further, Waymo has not
 7   shown that Otto Trucking even knew that the five discs were destroyed. The deposition testimony
 8   Waymo cites makes clear that Mr. Ron had no personal knowledge of the actions Mr. Levandowski
 9   took with respect to the five discs. See Ron Dep. Tr. (Dkt. No. 676-12) at 91:1-2 (“I’m not aware of
10   the specifics of that material and what happened with that.”), 91:9 (“I didn’t know personally what
11   happened.”). Rather, Mr. Ron testified that he could only recall from his conversations with Mr.
12   Levandowski that Uber would no longer be able to access the materials on the discs. See id. at
13   92:23-93:1 (“My impression from conversing with him, again -- it was a brief conversation -- that
14   basically, you know, there’s no way for Uber to sort of access those materials[.]”), 93:6-9 (“I don't
15   recall exactly what he communicated. I recall that the impression I got from the conversation that
16   basically there’s no way for Uber to sort of access those materials now.”). Without the requisite
17   knowledge of destruction, there was nothing for Otto Trucking to disclose under the Court’s Order.
18          Finally, Waymo should not be heard to complain because it now knows about the five discs.
19   Even if disclosure was required from Otto Trucking, Otto Trucking is now in compliance with the
20   Expedited Discovery Order.2 As the Court has recognized, “[t]he purpose of civil contempt is to
21   coerce compliance with the court’s order rather than punish disobedience.” Perez v. i2a Techs., Inc.,
22   No. C 15-04963 WHA, 2015 WL 7753330, at *4 (N.D. Cal. Dec. 2, 2015) (citation omitted). At this
23   point, a finding of civil contempt would do nothing further to secure Otto Trucking’s compliance
24   with the Court’s Order; any such finding would only be punitive in nature and thus improper.
25
     1
       To the extent Waymo contends that the five discs were in Otto Trucking’s possession, custody, or
26   control vis-à-vis Mr. Levandowski and that he should have disclosed the destruction of the discs, the
     Court requiring him to do so would constitute coercive state action in violation of his Fifth
27   Amendment right against self-incrimination. See Lefkowitz, 431 U.S. at 806; Malloy, 378 U.S. at 8.
     2
28     At the very least, Otto Trucking is in “substantial compliance” with the Court’s Order, which is a
     defense to civil contempt. See Dual-Deck Video, 10 F.3d at 695.
                                                         5
                                           OTTO TRUCKING’S OPPOSITION TO WAYMO’S MOTION FOR OSC
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 1          C.      Otto Trucking Is Not in Contempt for Failing to Cause Stroz or MoFo to Return
                    “Downloaded Materials.”
 2

 3          Otto Trucking cannot be in contempt for failing to compel either Stroz or MoFo to return

 4   “downloaded materials” because it has no legal relationship with those entities to do so.

 5          With respect to Stroz, the only relationship it has with Otto Trucking is through a joint

 6   defense agreement, which does not permit Otto Trucking to compel production of another person’s

 7   materials. And Waymo already argued—successfully—to Judge Corley that Otto Trucking did not

 8   retain Stroz and therefore is not Otto Trucking’s agent. See Dkt. No. 631 at 2 (Waymo arguing in

 9   letter brief that “the evidence of record demonstrates that Stroz was not retained as an agent of

10   attorneys representing Otto Trucking”). Waymo is judicially estopped from arguing to the contrary.

11   See New Hampshire v. Maine, 532 U.S. 742, 749 (2001) (“[W]here a party assumes a certain

12   position in a legal proceeding, and succeeds in maintaining that position, he may not thereafter,

13   simply because his interests have changed, assume a contrary position, especially if it be to the

14   prejudice of the party who has acquiesced in the position formerly taken by him.”) (quotations

15   omitted). The “law of the case” doctrine compels the same result, as Judge Corley already ruled that

16   Stroz is not Otto Trucking’s agent and Otto Trucking has no standing to challenge the Stroz

17   subpoena. See Dkt. No. 670 at 6-7 (“Otto Trucking offers no evidence that it retained Stroz or had

18   any involvement in the Stroz investigation. The Term Sheet required the retention of Stroz and Otto

19   Trucking was not a party to the Term Sheet.”); United States v. Estrada-Lucas, 651 F.2d 1261, 1263

20   (9th Cir. 1980) (“A decision of law in a case, once made, becomes the ‘law of the case,’ and should

21   not be changed absent clear error in the original ruling or a change in the relevant circumstances.”).

22   Otto Trucking is therefore powerless to compel Stroz to return materials.

23          Waymo is also wrong that Otto Trucking could compel MoFo to turn over any “downloaded

24   materials” it may have. As with Stroz, Otto Trucking has no relationship with MoFo other than

25   through a joint defense agreement. MoFo was hired by Otto Trucking shortly after this litigation

26   was filed and then substituted out as Otto Trucking’s counsel on May 3, 2017. See Dkt. No. 347.

27   Moreover, Otto Trucking has never had possession of the so-called “downloaded materials” that

28   Waymo claims to be in MoFo’s possession. MoFo was not counsel to Otto Trucking when it hired
                                                        6
                                           OTTO TRUCKING’S OPPOSITION TO WAYMO’S MOTION FOR OSC
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 1   Stroz; instead, Otto Trucking was represented by O’Melveny & Myers LLP. Thus, to the extent
 2   MoFo ever possessed any “downloaded materials,” such materials did not belong to Otto Trucking
 3   but rather to a different client.
 4   IV.     CONCLUSION
 5           For the foregoing reasons, the Court should deny Waymo’s motion for an order to show
 6   cause as to Otto Trucking.
 7

 8   Dated: July 5, 2017                             Respectfully submitted,
 9
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